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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

FAIRHOLME FUNDS, INC., et ai.,
Plaintiffs,
v.

FEDERAL HOUSING FINANCE
AGENCY, et al.,

Defendants.

In re Fannie Mae/Freddie Mac Senior
Preferred Stock Purchase Agreement Class
Action Litigations

This Order relates to:
ALL CASES

ORDER
Having reviewed the parties’ Joint Motion for Entry of Final Judgment, ECF No. 417, the
Court concludes that a judgment in this case cannot be final and appealable unless the Court has

approved a plan of allocation. The Court must therefore DENY Plaintiffs’ request to enter final

judgment at this time. It is further:

ORDERED that the parties shall meet and confer regarding Plaintiffs’ plan of allocation,

and it is further

ORDERED that, by December 21, the parties shall submit a written report outlining
Plaintiffs’ plan of allocation and, if the parties have concerns for which they seek resolution by the

Court, proposing a scheduling order for briefing any disputes. If possible, the parties shall submit

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a single joint report. Otherwise, the parties shall submit separate reports.
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IT IS SO ORDERED.

Date: I'1s(oy "x C. Lnttrx

Royce C. Lamberth
United States District Judge
